          Case 2:22-cv-00747-WSS Document 2 Filed 05/20/22 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 NOT AN LLC d/b/a/ JSD SUPPLY,                     Case No. 2:22-cv-00747-WSS

         Plaintiff,

                 v.

 BUREAU OF ALCOHOL, TOBACCO,
 FIREARMS AND EXPLOSIVES; UNITED
 STATES DEPARTMENT OF JUSTICE; and
 GARY M. RESTAINO AS THE ACTING
 DIRECTOR OF ATF,

         Defendants.



      PLAINTIFF’S EMERGENCY MOTION FOR TEMPORARY RESTRAINING
                 ORDER AND/OR PRELIMINARY INJUNCTION

       COMES NOW Plaintiff Not An LLC, d/b/a JSD Supply, (“Plaintiff” or “JSD Supply”),

and hereby requests, pursuant to Fed. R. Civ. P. 65(a), that this Court issue a Temporary

Restraining Order and/or Preliminary Injunction, enjoining Defendants from enforcing an ATF

Cease and Desist Order issued on May 9, 2022 and hand-delivered to Plaintiff on May 12, 2022.

    Unless enjoined, Plaintiff will be unable to continue business selling firearms parts and

accessories that are entirely unregulated by federal law. As explained in the contemporaneously

filed Memorandum in Support, Plaintiff is likely to succeed in establishing that, in addition to

violations of various constitutional provisions, Defendants have violated the Administrative

Procedures Act in enforcing a new and novel interpretation of the Gun Control Act of 1968 against

firearms parts and accessories, which is in excess of its statutory authority and in direct and open

defiance of statutory text.

       The resulting harm to Plaintiff is immediate and ongoing, and due to the exigency of the


                                            Page 1 of 3
          Case 2:22-cv-00747-WSS Document 2 Filed 05/20/22 Page 2 of 4




circumstances and the irreparable nature of the injury, a temporary restraining order would prevent

further harm and return the status quo. Plaintiff respectfully requests a hearing on its Motion as

soon as practically possible by this Court.

       Further, this Court should issue a temporary restraining order and preliminary injunction

to preserve the status quo pending a resolution of this matter on the merits. As explained at greater

length in the accompanying Memorandum, the balance of equities and the public interest favors

granting an injunction. Because a preliminary injunction presents no monetary risk to Defendants,

Plaintiff requests that the bond be set at $1, or altogether waived. Fed. R. Civ. P. 65(c).

       Plaintiff requests that the Court issue an Order enjoining Defendants’ enforcement of their

Cease and Desist Order until such time as the Court can rule on the merits of Plaintiff’s Verified

Complaint.

    Upon filing this Motion and accompanying Memorandum in Support, Plaintiff caused to be

delivered a true and correct copy to the following:



              Daniel Riess, Esq.                                Matthew P. Varisco, Esq.
                Trial Attorney                                  Special Agent in Charge
   U.S. Department of Justice, Civil Division               Philadelphia Field Division, ATF
              1100 L Street, NW                              601 Walnut Street, Suite 1000E
          Washington, D.C. 200005                                Philadelphia, PA 19106
            Phone: 202-353-3098                                   Phone: 215-446-7800
              Fax: 202-616-8460                                 Email: PhilDiv@atf.gov
        Email: Daniel.Riess@usdoj.gov




                                              Page 2 of 3
        Case 2:22-cv-00747-WSS Document 2 Filed 05/20/22 Page 3 of 4




Dated: May 20, 2022                Respectfully submitted,
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                                   Stephen D. Stamboulieh* (MS ID No. 102784)
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                                 Page 3 of 3
         Case 2:22-cv-00747-WSS Document 2 Filed 05/20/22 Page 4 of 4




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 STATES DEPARTMENT OF JUSTICE; and
 GARY M. RESTAINO AS THE ACTING
 DIRECTOR OF ATF,

        Defendants.


                               CERTIFICATE OF SERVICE

       I declare under penalty of perjury that a copy of Plaintiff Not An LLC d/b/a JSD Supply’s
Emergency Motion For Temporary Restraining Order and/or Preliminary Injunction was served
today via First Class Mail postage prepaid and electronic mail to:

                              Daniel Riess (TX Bar #24037359)
                                        Trial Attorney
                           U.S. Department of Justice, Civil Division
                                      1100 L Street, NW
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                                     Phone: 215-446-7800
                                   Email: PhilDiv@atf.gov


Date: May 20, 2022                                  s/ David J. Berardinelli
                                                   David J. Berardinelli
